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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


COMMUNITY FINANCIAL SERVICES
ASSOCIATION OF AMERICA, LTD., and
CONSUMER SERVICE ALLIANCE OF
TEXAS,
                                                    Civil Action No. 1:18-cv-295
     Plaintiffs,

v.

CONSUMER FINANCIAL PROTECTION
BUREAU and JOHN MICHAEL
MULVANEY, in his official capacity as
Acting Director, Consumer Financial
Protection Bureau,

     Defendants.



                                    JOINT STATUS REPORT

         Plaintiffs Community Financial Services Association of America, Ltd., and Consumer

Service Alliance of Texas, together with Defendants the Bureau of Consumer Financial

Protection (Bureau) and John Michael Mulvaney, in his official capacity as Acting Director of

the Bureau, (collectively, the “Parties”) submit this Joint Status Report pursuant to the Court’s

Order dated June 12, 2018.

         In this litigation, Plaintiffs challenge the Bureau’s “Payday, Vehicle Title, and Certain

High-Cost Installment Loans” rule (“Payday Rule” or “Rule”). As previously reported to the

Court, the Bureau intends to engage in a rulemaking process to reconsider that Rule. The Bureau

is engaged in ongoing work to prepare a notice of proposed rulemaking to reconsider the Payday

Rule and expects to issue that notice of proposed rulemaking by early 2019. Plaintiffs represent
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that Plaintiffs’ members continue to face substantial costs in preparation for compliance with the

Payday Rule.



Dated: August 17, 2018

Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I hereby certify that on August 17, 2018, I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send notification of such filing to the following:

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